                                                                                                         Ex. A-9


                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF                         CIVIL ACTION NO.: 1-20-cv-783
NEW YORK,

                  Plaintiff,

         v.

CLINICAL PATHOLOGY
LABORATORIES, INC., SONIC
HEALTHCARE USA, INC., MEDLAB
PATHOLOGY, SONIC HEALTHCARE
(IRELAND) LIMITED, AND SONIC
HEALTHCARE LIMITED,

                  Defendants.



PLAINTIFF HOMELAND INSURANCE COMPANY OF NEW YORK’S RESPONSE TO
  DEFENDANT CLINICAL PATHOLOGY LABORATORIES, INC.’S FIRST SET OF
                        INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Homeland

Insurance Company of New York (“Homeland”), by and through counsel, submits the following

objections and responses to Defendant Clinical Pathology Laboratories, Inc.’s (“CPL” or

“Defendant”)’s first set of interrogatories to Homeland.

                PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

         1.       These responses are made solely for the purpose of, and in relation to, this action.

Each response is given subject to all appropriate objections (including, but not limited to,

objections concerning competency, relevancy, materiality, propriety and admissibility) that

would require the exclusion of any statement contained herein if the interrogatory were asked of,

or any statement contained herein were made by, a witness present and testifying in court. All

such objections and the grounds therefor are reserved and may be interposed at the time of trial.




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         2.       Homeland objects to each and every interrogatory, and the definitions and

instructions that precede them, to the extent that they impose a burden or obligations beyond the

scope of permissible discovery under the Federal Rules of Civil Procedure, seek information or

materials without proper limit to their subject matter, or are not limited to the time period(s)

relevant to the issues presented in this litigation. Homeland also objects to the extent that the

information sought is unreasonably cumulative or duplicative or is obtainable from some other

source that is more convenient, less burdensome, or less expensive, as provided by the Federal

Rules of Civil Procedure. Homeland notes that some of the personnel responsible for the

underwriting of the “Policies” and for handling the “ICC Claims” are no longer affiliated with

Homeland, so its ability to provide responses is limited to information it can gather and assemble

from written documents and current employees.

         3.       Homeland objects to each and every interrogatory, and the definitions and

instructions that precede them, to the extent that they are vague, ambiguous, overly broad,

unduly burdensome, disproportionate to the needs of the case, seek irrelevant information, or are

not calculated to lead to the discovery of admissible evidence. They are also compound,

conjunctive and/or disjunctive making the total number of interrogatories asked in excess of the

limitations contained in the Federal Rules of Civil Procedure.

         4.       Homeland objects to each and every interrogatory to the extent that they seek the

disclosure of highly confidential, trade secret and/or proprietary information and materials.

         5.       Homeland objects to the definitions of “Homeland,” “OneBeacon, “You” and

“Your” on the grounds that they are overly broad, ambiguous, and improper because they include

various third parties and would require Homeland to supply information that is not in its

possession, custody, or control. Homeland objects to each and every interrogatory to the extent

that they purport to require responses from or searches of files and the production of documents

in the possession, custody, or control of third parties. Acquisition of the information necessary

to respond to the interrogatories with respect to entities other than Homeland would place an

unreasonable burden on Homeland.


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         6.       Homeland objects to the term “Describe” which seeks not only facts but persons,

documents, meetings, communications and things related to the subject of the interrogatory. As

such, the terms makes each applicable interrogatory overbroad, compound and unduly

burdensome.

         7.       Except for the facts explicitly admitted herein, no admission of any nature

whatsoever is to be implied or inferred. The fact that an interrogatory herein has been answered

should not be taken as an admission of, or a concession of the existence of, any facts set forth or

assumed by such interrogatory, or that such response constitutes evidence of any fact thus set

forth or assumed. Any interrogatory deemed as continuing is objected to as oppressive,

overburdensome, improper and not in compliance with the provisions of the Federal Rules of

Civil Procedure Rule 33, and will not be regarded as continuing in nature.

         8.       Homeland objects to each and every interrogatory, and the definitions and

instructions that precede them, to the extent that the information sought is protected from

disclosure by any privilege, doctrine, exemption, immunity, or protection, including, without

limitation, the attorney-client privilege and work product doctrine, on the ground that such

information is not properly discoverable under the Federal Rules of Civil Procedure. The

inadvertent disclosure or production by Homeland of any privileged or protected documents or

information shall not constitute a waiver of any privilege, protection, or immunity, or any other

ground for objecting to discovery of the documents or information. Homeland reserves the right

to request the return or destruction of any inadvertently produced document.

         9.       Homeland responds to the interrogatories based on the best of its present

knowledge, information, and belief. Homeland objects to the interrogatories to the extent that

they request the identification of all, any, or every fact, document, individual, or piece of

evidence at this early stage of the litigation on the grounds that such Interrogatories are

premature, overbroad, oppressive, and unduly burdensome. The following responses and

objections are made without waiving any objections that Homeland may have to the admission,

use, or introduction at any hearing or trial of any documents, information, or other evidence,


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including, without limitation, any documents that may be called for by the Interrogatories. The

production of any document, answer, information, or thing by Homeland in connection with any

of the interrogatories does not constitute an admission that the document, information, or thing is

relevant to this proceeding.

         10.      Homeland also objects to the procedural specifications of Plaintiff’s

interrogatories and will respond under the provisions of Federal Rule of Civil Procedure Rule 33

and Western District of Texas, Austin Division Local Rule CV-33.

         11.      Homeland has not yet completed discovery in this action and has not yet

completed preparation for trial. Consequently, the following responses are given without

prejudice to Homeland producing evidence of any subsequently discovered facts. Homeland’s
responses are at all times subject to such additional or different information that discovery
or further investigation may disclose. Homeland reserves the right to supplement, amend,

modify, or withdraw any response set forth herein to the full extent permitted by law.

         12.      The preceding information is incorporated into each of the following responses as

if set forth in full.

                               RESPONSE TO INTERROGATORIES



INTERROGATORY NO. 1:

         Identify all Persons involved in or with knowledge regarding the drafting, negotiation,

placement, underwriting, evaluating, approving, brokering, and/or issuing of the Policies. For

each Person Identified, Describe the nature of that Person’s participation or knowledge.

RESPONSE TO INTERROGATORY NO. 1:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and unduly burdensome to the extent it purports to seek information that: (1) is not

within Homeland’s possession, custody or control, (2) is protected from disclosure by the

attorney-client privilege and/or the attorney work product doctrine, and/or (3) concerns prior

versions of the Policies issued to other non-party insureds. The interrogatory is also overbroad


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with respect to the term “Describe” which seeks not only facts but persons, documents, meetings,

communications and things related to the matter. Homeland further objects that the interrogatory

calls for an examination, audit, compilation, abstract or summary of documents, and the burden

of deriving or ascertaining the answer to this interrogatory is substantially the same for the

propounding party. See Fed. R. Civ. P. 33(d); the non-privileged portions of Homeland’s

underwriting files for the Policies and Homeland’s Initial Disclosures. Finally, Homeland

objects on the grounds this interrogatory is improperly compound and contains subparts,

containing at least seven separate interrogatories, making the total number of interrogatories

asked in excess of the limitations contained in Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

 Name and Contact                                     Subject of Information
 Stephen R. Shumpert                                  The identified individuals may have
 Former President, CPL
                                                      knowledge related to:
 Former CEO, Sonic USA
 Sheridan A. Foster                                         The procurement of the Policies,
 Former Secretary, CPL                                       including representations made to
 Former SVP Legal Affairs, Sonic USA                         Homeland in furtherance of
 Nancy Stratton                                              procurement of coverage.
 Former VP Quality Assurance, CPL
 Kenneth A. Johnson
 Chief General Counsel, Sonic USA
 Karen Pruett
 Vice President of Quality Improvement, CPL
 12357-A Riata Trace Parkway, Suite 210
 Austin, TX 78727

 Dr. Colin Goldschmidt
 CEO, Sonic
 Christopher Wilks
 CFO, Sonic
 Gordon Young
 Risk Manager, Sonic
 Level 22, 225 George Street
 Sydney NSW 2000
 Australia
 gordon.young@sonichealthcare.com.au




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 Name and Contact                                 Subject of Information
 Brian Madden
 CEO, MedLab
 Sabrina Carter
 Operations Management, MedLab
 Lisa Clarke
 Quality Assurance Manager, MedLab
 Unit 3, Sandyford Business Centre
 Sandyford Business Park, Dublin 18
 Telephone: +353 (1) 293 3690
 Fax: +353 (1) 293 3671
 Brian.Madden@medlabpathology.ie
 Sabrina.Carter@medlabpathology.ie
 lisa.clarke@medlabpathology.ie

 Other relevant former and/or current employees
 of Defendants to be determined

 Jakob Onken                                      The identified individuals may have
 Assistant Vice President, Aon Risk Solutions     knowledge related to:
 10700 W. Research Drive, Suite 450
 Milwaukee, WI 53226                                    The procurement of the Policies,
 Telephone: (414) 225-5377                               including representations made to
 jakob.onken@aon.com                                     Homeland in furtherance of
                                                         procurement of coverage.
 Abby Bell
 Broker, Aon Risk Solutions
 Aon Center, 200 E. Randolph, 13th Floor
 Chicago, IL 60601
 Telephone: (312) 381-4119
 Fax: (312) 381-9012
 abby.bell@aon.com

 Kathryn Shearman
 Senior Claims Consultant, Aon Risk Solutions
 201 Kent Street Sydney NSW 2000
 Telephone: +61 9253 8406
 Fax: +61 9253 7128
 kathryn.shearman@aon.com


 Jennifer L. Clifford                             The identified individuals may have
 Former Vice President, Homeland
                                                  knowledge related to:
                                                        The underwriting of the Policies.


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 Name and Contact                                     Subject of Information
 Brenda Craig
 Former President, Homeland

 Lisa M. Vumback
 Lead Product Counsel for Intact Services USA,
 LLC

 All may be contacted through Homeland’s
 counsel, Sheppard, Mullin, Richter & Hampton,
 LLP



         Homeland also refers CPL to the non-privileged portions of Homeland’s underwriting

files for the Policies.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 2:

         Identify all Persons (including but not limited to any outside or in-house counsel) who

had any responsibility for, or who have knowledge regarding, the handling, investigation,

evaluation, processing, adjusting, review, or determination of the Ms. S Claim [ICC Claims]

under the Policies. For each Person Identified, Describe the nature of that Person’s participation

or knowledge.
RESPONSE TO INTERROGATORY NO. 2:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and unduly burdensome to the extent it purports to seek information that: (1) is not

within Homeland’s possession, custody or control and/or (2) is protected from disclosure by the

attorney-client privilege and/or the attorney work product doctrine. The interrogatory is also

overbroad with respect to the term “Describe” which seeks not only facts but persons,

documents, meetings, communications and things related to the matter. Homeland further

objects that the interrogatory calls for an examination, audit, compilation, abstract or summary of



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documents, and the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for the propounding party. See Fed. R. Civ. P. 33(d); the non-privileged

portions of Homeland’s claim notes and claim file for the ICC Claims and Homeland’s Initial

Disclosures. Finally, Homeland objects on the grounds this interrogatory is improperly

compound and contains subparts, containing at least seven separate interrogatories, making the

total number of interrogatories asked in excess of the limitations contained in Federal Rule of

Civil Procedure 33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

 Name and Contact                                   Subject of Information
 Stephen R. Shumpert                                The identified individuals may have
 Former President, CPL
                                                    knowledge related to:
 Former CEO, Sonic USA
 Sheridan A. Foster                                        The procurement of insurance for
 Former Secretary, CPL                                      Defendants from Homeland, Vero
 Former SVP Legal Affairs, Sonic USA                        and any other of Defendants’
 Nancy Stratton                                             insurers, including representations
 Former VP Quality Assurance, CPL                           made to insurers in furtherance of
 Kenneth A. Johnson                                         procurement of coverage.
 Chief General Counsel, Sonic USA                          The ICC Claims and CervicalCheck
 Karen Pruett                                               program.
 Vice President of Quality Improvement, CPL
 Hector Garcia                                             The NCSS and NSS contracts.
 Cytology Manager, CPL                                     Communications with Homeland,
 Dr. Shannon Kratzer                                        Vero and other insurers regarding
 Laboratory Director Cytology, CPL                          the ICC Claims.
 12357-A Riata Trace Parkway, Suite 210
 Austin, TX 78727
 9200 Wall Street
 Austin, TX 78754

 Dr. Colin Goldschmidt
 CEO, Sonic
 Christopher Wilks
 CFO, Sonic
 Gordon Young
 Risk Manager, Sonic
 Level 22, 225 George Street
 Sydney NSW 2000
 Australia
 gordon.young@sonichealthcare.com.au

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 Name and Contact                                 Subject of Information

 Brian Madden
 CEO, MedLab
 Sabrina Carter
 Operations Management, MedLab
 Lisa Clarke
 Quality Assurance Manager, MedLab
 Unit 3, Sandyford Business Centre
 Sandyford Business Park, Dublin 18
 Telephone: +353 (1) 293 3690
 Fax: +353 (1) 293 3671
 Brian.Madden@medlabpathology.ie
 Sabrina.Carter@medlabpathology.ie
 lisa.clarke@medlabpathology.ie

 Other relevant former and/or current employees
 of Defendants to be determined

 Mark T. Beaman                                   The identified individual may have
 Germer Beaman & Brown PLLC                       knowledge related to:
 One Barton Skyway
 1501 S Mopac Expy, Suite A400                          The ICC Claims and Homeland’s
 Austin, TX 78746                                        coverage investigation of the ICC
                                                         Claims.
 Telephone: (512) 472-0288
 Fax: (512) 472-0721
 mbeaman@germer-austin.com

 Margaret Muldowney                               The identified individuals may have
 Fiona Barry                                      knowledge related to:
 Sinead Keavey
 Mary Cooney                                            The defense and settlement of the
 William Fry                                             ICC Claims.
 2 Grand Canal Square                                   Communication with Defendants
 Dublin 2, D02 A342, Ireland                             relating to insurance coverage under
 Telephone: +353 1 639 5000                              the Policies.
 Fax: +353 1 639 5333
 Margaret.Muldowney@williamfry.com

 Nessa O’Roarty                                   The identified individuals may have
 Clifford Healy
                                                  knowledge related to:
 BLM Law
 St. Stephens Green House                               The defense and settlement of the
 Earlsfort Terrace                                       ICC Claims.



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 Name and Contact                                Subject of Information
 Dublin 2, DO2 PH42, Ireland                           Communication with Defendants
 Telephone: +353 1 246 4900                             relating to insurance coverage under
 nessa.o’roarty@blmlaw.com                              the Policies.
                                                       Communications with Homeland,
                                                        Vero and other insurers regarding
                                                        the ICC Claims.
                                                       Homeland’s investigation of the ICC
                                                        Claims.
 Jakob Onken                                     The identified individuals may have
 Assistant Vice President, Aon Risk Solutions    knowledge related to:
 10700 W. Research Drive, Suite 450
 Milwaukee, WI 53226                                   The procurement of insurance for
 Telephone: (414) 225-5377                              Defendants from Homeland, Vero
 jakob.onken@aon.com                                    and any other of Defendants’
                                                        insurers, including representations
 Abby Bell                                              made to insurers in furtherance of
 Broker, Aon Risk Solutions                             procurement of coverage.
 Aon Center, 200 E. Randolph, 13th Floor               The reporting of the ICC Claims to
 Chicago, IL 60601                                      Homeland, Vero and any other of
 Telephone: (312) 381-4119                              Defendants’ insurers.
 Fax: (312) 381-9012
 abby.bell@aon.com                                     Communications with Homeland,
                                                        Vero and other insurers regarding
 Kathryn Shearman                                       the ICC Claims.
 Senior Claims Consultant, Aon Risk Solutions
 201 Kent Street Sydney NSW 2000
 Telephone: +61 9253 8406
 Fax: +61 9253 7128
 kathryn.shearman@aon.com


 Valeri May                                      The identified individuals may have
 Former Claim Consultant, Homeland               knowledge related to:
 Maureen G. Ringland                                   Homeland’s handling and
 Senior Vice President, Homeland                        investigation of the ICC Claims.

 Daniele Freaner
 Former Assistant Vice President, Homeland

 All may be contacted through Homeland’s
 counsel, Sheppard, Mullin, Richter & Hampton,
 LLP


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 Name and Contact                                     Subject of Information



 John Brooks                                          The identified individuals may have
 Jenna Fasone                                         knowledge related to communications with
                                                      CPL and its representatives.
 Sheppard Mullin Richter & Hampton LLP


         Homeland also refers CPL to the non-privileged portions of Homeland’s claim notes and

claim file for the ICC Claims.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 3:

         Identify all Persons You have communicated with regarding the Policies and/or the ICC

Claims (including but not limited to the Ms. S Claim), including, for example, all Persons

employed by (or associated with) OneBeacon, Aon, Vero, or Beazley. For each Person

Identified, Describe the nature of the Communications You had with that Person (or those

Persons) and Describe who was involved with such Communications on Your behalf.

RESPONSE TO INTERROGATORY NO. 3:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and unduly burdensome with respect to the term “Describe” which seeks not only

facts but persons, documents, meetings, communications and things related to the matter.

Moreover, the interrogatory seeks information that is not relevant to any party’s claims or

defenses, nor proportional to the needs of the case, such as communications with Beazley.

Homeland also objects that the interrogatory seeks information that is protected from disclosure

by the attorney-client privilege and/or the attorney work product doctrine. Homeland further

objects that the interrogatory calls for an examination, audit, compilation, abstract or summary of

documents, and the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for the propounding party. See Fed. R. Civ. P. 33(d); the non-privileged



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portions of Homeland’s claim notes and claim file for the ICC Claims and Homeland’s Initial

Disclosures. Finally, Homeland objects on the grounds this interrogatory is improperly

compound and contains subparts, containing at least thirteen separate interrogatories, making the

total number of interrogatories asked in excess of the limitations contained in Federal Rule of

Civil Procedure 33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

See Homeland’s response to interrogatories 1 and 2 above, along with the non-privileged

portions of Homeland’s claim notes and claim file for the ICC Claims and the non-privileged

portions of the underwriting files for the Policies.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 4:

         State the exact date on which You first determined that You were not obligated to

provide coverage for the Ms. S Claim [ICC Claims] and Identify each individual Person who

made, or assisted with making, that determination.

RESPONSE TO INTERROGATORY NO. 4:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information protected from disclosure by the attorney-client privilege and/or the attorney

work product doctrine. It is also premature and calls for a legal conclusion. Moreover,

Homeland objects on the grounds that an intelligible and straightforward response regarding an

“exact date” is not possible on account of the piecemeal, conflicting, inaccurate, misleading

and/or incomplete information Homeland received from Defendants over the course of

Homeland’s coverage investigation. To date, Homeland has still not obtained all of the relevant

information necessary to complete its coverage investigation; such information and documents

are the subject of outstanding discovery propounded on Defendants. Homeland further objects

that the interrogatory calls for an examination, audit, compilation, abstract or summary of

documents, and the burden of deriving or ascertaining the answer to this interrogatory is


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substantially the same for the propounding party. See Fed. R. Civ. P. 33(d) and the non-

privileged portions of Homeland’s claim notes and claim file for the ICC Claims. Finally,

Homeland objects on the grounds this interrogatory is improperly compound and contains

subparts, containing at least two separate interrogatories, making the total number of

interrogatories asked in excess of the limitations contained in Federal Rule of Civil Procedure

33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

There is no exact date on which Homeland “first determined that [it was] “not obligated to

provide coverage for the [ICC Claims].”

         In or around July of 2015, Homeland’s preliminary coverage investigation and analysis

of the Ms. O’Brien claim determined that there was no coverage for the claim under CPL’s

2014-2015 policy issued by Homeland. Homeland confirmed this determination when the

survivors of Ms. O’Brien filed suit in or around April of 2016.

         Shortly after this determination, Defendants, through their broker, sought expanded

coverage from Homeland and procured such coverage after providing a Warranty Letter on

behalf of all those entities proposed for coverage. That Warranty Letter provided assurances that

the entities proposed for coverage were unaware of facts that might give rise to further ICC

Claims brought against not only CPL but also Sonic Healthcare (Ireland) Limited and MedLab

Pathology. The Warranty Letter also provided that any existing claims or facts that may result in

a future ICC Claim had already been reported to prior insurance carriers.

         In or around February 2018, CPL provided notice to Homeland of the Ms. Phelan claim

which had been recently filed in Ireland. Homeland had serious questions about coverage of the

Ms. Phelan claim from the beginning of its investigation as discussed in various emails and

letters Homeland sent to CPL and expressed during phone calls with CPL, MedLab and/or

broker AON beginning in March of 2018. Just by way of example, Homeland sought

information concerning the first time any Sonic entity became aware of the Ms. Phelan claim and

the potential for any other ICC Claims. Homeland also sought the notice earlier provided to


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insurer Vero concerning the Ms. Phelan and any other ICC Claims. For the full list of coverage

concerns initially raised by Homeland, see Homeland’s March 27, 2018 correspondence to

Sheridan Foster and the unprivileged portions of Homeland’s claim file and claim notes for the

ICC Claims generally.

         Homeland, giving the full benefit of the doubt to its insured, did not want to be rash and

quick to deny coverage without completing a full investigation. Defendants, however, were not

forthcoming and did not provide the majority of, or critical documents responsive to,

Homeland’s requests.

         In or around April of 2018, while Homeland was in the middle of its coverage

investigation for the Ms. Phelan matter, Homeland received notice that no further action from

Homeland would be required because the matter had been “settled as against Medlab/CPL” and

“another insurer (Vero) ha[d] granted indemnity in relation to the settlement.” Homeland

therefore closed its file for the Ms. Phelan claim, the only pending ICC Claim noticed to

Homeland at that time.

         In or around May of 2018, CPL reported a list of 101 slides to Homeland which CPL

believed may result in future claims against it. Homeland therefore immediately returned to its

coverage investigation, now for the various ICC Claims noticed in the bulk claim report, other

than the Ms. O’Brien and Ms. Phelan claims.

         In or around June of 2018, Homeland received correspondence from broker Aon

concerning the Ms. Curtis matter and requesting defense and indemnity on behalf of CPL, Sonic

Healthcare Limited, Sonic Healthcare (Ireland) Limited, and MedLab Pathology. According to

the information and documents provided to Homeland, as of June 2018, only MedLab had been

named as a defendant. Additionally, Ms. Curtis appeared to have first made a claim in or around

April of 2016. According to Defendants, it was their “understanding CPL was involved in

interpreting slides in [the Ms. Curtis] matter.”

         On or about June 29, 2018, Homeland wrote to Aon and CPL in response to the request

for defense and indemnity of the Ms. Curtis claim on behalf of all Defendants aside from Sonic


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USA. In that letter, Homeland pointed out, among other things, that: (1) the Worldwide

Territory Endorsement precluded coverage for any claims made outside of the United States

against any insured domiciled outside of the United States (eliminating any coverage for

applicable Defendants aside from CPL); (2) CPL was not named in the Ms. Curtis lawsuit and no

information had been provided to Homeland indicating CPL had done anything for which Ms.

Curtis sought to hold CPL liable; and (3) the Ms. Curtis claim appeared to have first been made

in April 2016, well before the 2016-17 Policy period under which the claim was tendered had

commenced and was being reported outside of the notice period dictated by General Condition

(C). Therefore, Homeland’s letter concluded that there did not appear to be any potential for

coverage of the Ms. Curtis matter because there did not appear to be any pending claim against

any potential insured, nor any claim that had been first made and timely noticed within the

applicable policy and reporting period. Homeland invited Defendants to provide any additional

information in response to the analysis provided in the June 29 letter, but to date Homeland has

not received a reply. See correspondence from John T. Brooks to Sheridan Foster and Jake

Onken dated June 29, 2018.

         In order to continue its coverage investigation for the remaining ICC Claims noticed to it,

Homeland resumed its reasonable requests for information and documents that it had requested

during its coverage investigation of the Ms. Phelan claim. But again, Defendants were not

forthcoming and did not provide the critical information or documents Homeland needed to

complete its investigation.

         For example, it was not until December of 2018 that Defendants provided Homeland with

some information concerning MedLab’s knowledge of the Cancer Audit Reviews, MedLab’s

prior tender of the Ms. Curtis claim to Vero, and MedLab’s March 2016 bulk claim report to

Vero which concerned a list of 58 potential claimants, including, but not limited to, Ms. Swift

and Ms. Aldred. See correspondence from Mark T. Beaman to John T. Brooks dated December

14, 2018 and enclosed documents, including MedLab’s March 2016 bulk claim report to Vero.




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         In or around February of 2019, Homeland responded to Defendants’ coverage counsel

after conducting a preliminary analysis of the information and documents provided in December

of 2018. Homeland’s letter provided its preliminary analysis of what it believed were the two

most significant potential obstacles to coverage (the Prior Notice Exclusion and the Warranty

Letter) and invited Defendants to respond with additional facts or documents that would assist

Homeland in coming to the correct coverage determination. See correspondence from John T.

Brooks to Mark T. Beaman dated February 4, 2019. Again, Homeland wanted to provide

Defendants every opportunity to demonstrate coverage for any or all of the ICC Claims noticed

to Homeland. Homeland also offered to set up a conference call to discuss the various issues

raised in its correspondence over the prior several months. Defendants did not take Homeland

up on this offer.

         Defendants did not provide any meaningful response to the issues and questions raised in

Homeland’s February 2019 correspondence until September 2019. See correspondence from

Mark T. Beaman to John T. Brooks dated September 18, 2019. At this point, Homeland had

been investigating coverage for the ICC Claims for nearly a year and a half. And still,

Defendants’ September 2019 correspondence failed to provide all of the information and

documents necessary to make a final coverage determination.

         However, by October of 2019, CPL advised that there may soon be a settlement of the

Ms. Swift matter and demanded a coverage determination at least with respect to the Ms. Swift

claim. Notwithstanding Homeland’s need to gather additional information, because CPL had

represented that time was of the essence with respect to the Ms. Swift claim and the upcoming

trial, Homeland decided that it would consider requests for reimbursement in the Ms. Swift

matter subject to a full reservation of rights – including but not limited to the right to seek

recoupment of any payment to CPL should coverage found to be lacking – as more fully

discussed in Homeland’s October 14, 2019 reservation of rights letter. That letter explained

Homeland’s position with respect to coverage based on all of the information and documents it

had been provided to date, and reiterated the information and documents it required to make a


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final coverage determination.

         To date, Defendants have still failed to provide all of the requested information and

documents requested by Homeland. Once CPL made a request for reimbursement from

Homeland for the Ms. Swift claim in or around May of 2020, Homeland was left with no option

but to file the instant lawsuit seeking a determination from the court with respect to coverage

under the 2017-18 Policies.

Persons

         Homeland’s former employees, Daniele Freaner, Maureen Ringland, and Valeri May

were involved in the investigation outlined above, as well as counsel for the parties involved in

the communications described above.

         Homeland also refers CPL to the non-privileged portions of Homeland’s claim notes and

claim file for the ICC Claims.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 5:

         State the exact date on which You engaged outside counsel to assist with any work

relating to the Policies and/or the ICC Claims (including but not limited to the Ms. S Claim) and

Identify any such Persons.

RESPONSE TO INTERROGATORY NO. 5:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

vague and ambiguous, particularly with respect to the term “engaged.” Homeland also objects to

the extent the interrogatory seeks information that is protected from disclosure by the attorney-

client privilege and/or the attorney work product doctrine. Finally, Homeland objects on the

grounds this interrogatory is improperly compound and contains subparts, containing at least

four separate interrogatories, making the total number of interrogatories asked in excess of the

limitations contained in Federal Rule of Civil Procedure 33(a)(1).




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         Subject to and without waiving the foregoing objections, Homeland responds as follows:

Homeland first contacted outside counsel, Sheppard Mullin Richter & Hampton LLP, in or

around March 2018.



INTERROGATORY NO. 6:

         Identify all Persons who have knowledge regarding the (a) 2016 Shumpert Letter, (b)

Prior Notice Exclusion, (c) Prior Knowledge Exclusion, (d) 2016 Rate Stabilization

Endorsement, (e) Additional Named Insured Endorsement, or (f) Worldwide Territory

Endorsement, including but not limited to Persons who drafted, revised, requested, negotiated,

discussed, analyzed, and/or approved those documents, exclusions, or endorsements. For each

Person identified, Describe the nature of that Person’s participation or knowledge.

RESPONSE TO INTERROGATORY NO. 6:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and unduly burdensome to the extent it purports to seek information that: (1) is not

within Homeland’s possession, custody or control, (2) is protected from disclosure by the

attorney-client privilege and/or the attorney work product doctrine, and/or (3) concerns prior

versions of the Policies issued to other non-party insureds. The interrogatory is also overbroad

with respect to the term “Describe” which seeks not only facts but persons, documents, meetings,

communications and things related to the matter. Homeland further objects that the interrogatory

calls for an examination, audit, compilation, abstract or summary of documents, and the burden

of deriving or ascertaining the answer to this interrogatory is substantially the same for the

propounding party. See Fed. R. Civ. P. 33(d); the non-privileged portions of Homeland’s

underwriting files for the Policies and Homeland’s Initial Disclosures. Finally, Homeland

objects on the grounds this interrogatory is improperly compound and contains subparts,

containing at least twelve separate interrogatories, making the total number of interrogatories

asked in excess of the limitations contained in Federal Rule of Civil Procedure 33(a)(1).




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         Subject to and without waiving the foregoing objections, Homeland responds as follows:

See Homeland’s response to interrogatory 1 above, along with the non-privileged portions of

Homeland’s claim underwriting files for the Policies.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 7:

         State the exact date on which You allege that You first discovered the alleged

misrepresentation described at paragraph 160 of Your First Amended Complaint [Doc. 21],

Identify the specific Document(s) and/or Communication(s) that You allege caused You to

discover the alleged misrepresentation, and Identify the specific individual(s) You allege

discovered the alleged misrepresentation.

RESPONSE TO INTERROGATORY NO. 7:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information protected from disclosure by the attorney-client privilege and/or the attorney

work product doctrine. It is also premature and calls for a legal conclusion. Moreover,

Homeland objects on the grounds that an intelligible and straightforward response regarding an

“exact date” is not possible on account of the piecemeal, conflicting, inaccurate, misleading

and/or incomplete information Homeland received from Defendants over the course of

Homeland’s coverage investigation. To date, Homeland has still not obtained all of the relevant

information necessary to complete its coverage investigation; such information and documents

are the subject of outstanding discovery propounded on Defendants. Homeland further objects

that the interrogatory calls for an examination, audit, compilation, abstract or summary of

documents, and the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for the propounding party. See Fed. R. Civ. P. 33(d) and the non-

privileged portions of Homeland’s claim notes and claim file for the ICC Claims. Finally,

Homeland objects on the grounds this interrogatory is improperly compound and contains

subparts, containing at least three separate interrogatories, making the total number of


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interrogatories asked in excess of the limitations contained in Federal Rule of Civil Procedure

33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

There is no “exact date on which [Homeland] allege[s] that [it] first discovered the alleged

misrepresentation described at paragraph 160 of [Homeland’s] First Amended Complaint.” See

Homeland’s response to interrogatory 4 above, along with the non-privileged portions of

Homeland’s claim notes and claim file for the ICC Claims.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 8:

         State the exact date on which You allege that You first informed CPL (or any other

insured under the Policies) that You refused to be bound by the Policies due to an alleged

misrepresentation in the 2016 Shumpert Letter, and Identify the specific Document(s) and/or

Communication(s) through which You allege that You so informed CPL (or any other insured

under the Policies).

RESPONSE TO INTERROGATORY NO. 8:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information protected from disclosure by the attorney-client privilege and/or the attorney

work product doctrine. It is also premature and calls for a legal conclusion. Homeland further

objects that the interrogatory calls for an examination, audit, compilation, abstract or summary of

documents, and the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for the propounding party. See Fed. R. Civ. P. 33(d) and the non-

privileged portions of Homeland’s claim notes and claim file for the ICC Claims. Finally,

Homeland objects on the grounds this interrogatory is improperly compound and contains

subparts, containing at least two separate interrogatories, making the total number of

interrogatories asked in excess of the limitations contained in Federal Rule of Civil Procedure

33(a)(1).


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         Subject to and without waiving the foregoing objections, Homeland responds as follows:

There is no “exact date on which [Homeland] allege[s] that [it] first informed CPL (or any other

insured under the Policies) that [Homeland] refused to be bound by the Policies due to an alleged

misrepresentation in the 2016 Shumpert Letter.” See Homeland’s response to interrogatory 4

above, along with the non-privileged portions of Homeland’s claim notes and claim file for the

ICC Claims.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 9:

         List every lawsuit that you have participated in since January 25, 2011 in which you

sought to rescind an insurance policy because of an alleged misrepresentation in an insurance

application or in the insurance application process.

RESPONSE TO INTERROGATORY NO. 9:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and seeks information that is not relevant to any party’s claims or defenses, nor

proportional to the needs of the case. Homeland’s participation in other potential lawsuits

seeking rescission would concern unique facts and circumstances particular to other insureds

with different policies and underwriting histories, making any such lawsuits irrelevant to the

instant litigation.



INTERROGATORY NO. 10:

         List every lawsuit that you have participated in since January 25, 2011 in which you

sought monetary damages for, and not rescission of an insurance policy for, an alleged

misrepresentation in an insurance application or in the insurance application process.

RESPONSE TO INTERROGATORY NO. 10:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and seeks information that is not relevant to any party’s claims or defenses, nor


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proportional to the needs of the case. Homeland’s participation in other potential lawsuits

seeking monetary damages would concern unique facts and circumstances particular to other

insureds with different policies and underwriting histories, making any such lawsuits irrelevant

to the instant litigation.



INTERROGATORY NO. 11:

         Identify every exclusion, endorsement, provision, term, definition, or condition contained

in the Policies that You contend defeats or limits the coverage CPL is entitled to under the

Policies for the Ms. S Claim [ICC Claims]. For each such exclusion, endorsement, provision,

term, definition, or condition, list and Describe all facts relating to your contention(s). In your

response, Identify all Persons with knowledge of such facts and all Documents relating to your

contention(s).

RESPONSE TO INTERROGATORY NO. 11:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information protected from disclosure by the attorney-client privilege and/or the attorney

work product doctrine. It is also premature and calls for a legal conclusion. Homeland further

objects that the interrogatory calls for an examination, audit, compilation, abstract or summary of

documents, and the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for the propounding party. See Fed. R. Civ. P. 33(d) and the non-

privileged portions of Homeland’s claim notes and claim file for the ICC Claims and the non-

privileged portions of Homeland’s underwriting files for the Policies. Finally, Homeland objects

on the grounds this interrogatory is improperly compound and contains subparts, containing at

least four separate interrogatories, making the total number of interrogatories asked in excess of

the limitations contained in Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

The Warranty Letter

         This provision precludes coverage for all of the ICC Claims noticed to Homeland.


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         The Warranty Letter, which is deemed part of the Policies pursuant to its own terms and

the Rate Stabilization Endorsement, expressly conditions the expanded coverage contained in the

Worldwide Territory Endorsement (and Additional Named Insured Endorsement) on the veracity

of the statements contained therein. The Warranty letter misrepresented material facts to

Homeland, including misrepresenting that Defendants were not aware of any claims against the

insureds or any facts, circumstances, situations, transactions, events, acts, errors or omissions

that might give rise to a claim and misrepresenting a “diligent inquiry” had been made before

making the statements in the letter. MedLab’s bulk claim notice, the facts and circumstances

showing that CPL would naturally have been aware of facts and circumstances suggesting

potential claims, and CPL’s admissions about the lack of diligent inquiry preceding the Warranty

Letter all demonstrate the falsity of these statements. Further, Defendants now claim that the

Warranty was made only on behalf of CPL, which if true demonstrates the falsity of the

statement that the Warranty was given “on behalf of Sonic and any other person proposed for

coverage (the insureds).”



Insuring Agreement (A)

         This provision precludes coverage for any of the ICC Claims first made prior to the 2017-

18 Policy period, such as the Ms. Curtis claim which was filed in 2016. The term “Claim” is

defined as “any written notice received by an Insured that any person or entity intends to hold

an Insured responsible for a Wrongful Act or an Occurrence



Reporting of Claims Condition (C)

         This provision precludes coverage for any of the ICC Claims first made against an

insured prior to the 2017-18 Policy period, such as the Ms. Curtis claim which was first made in

2016, and which was not timely noticed to Homeland “as soon as practicable thereafter” but in

no event later than 30 days after the Expiration Date or the expiration of any Extended Reporting

Period. Despite the Ms. Curtis claim being made in 2016, it was not noticed to Homeland until


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2018. The term “Claim” is defined as “any written notice received by an Insured that any

person or entity intends to hold an Insured responsible for a Wrongful Act or an Occurrence.”



The Related Claims Condition (C)

         To the extent the ICC Claims are deemed “Related Claims” under the 2017-18 Policy, all

ICC Claims would relate back to the Ms. O’Brien claim and be deemed made under the 2014-15

policy, which did not contain the Worldwide Territory Endorsement and thus did not provide

coverage for any of the ICC Claims made outside the United States or Canada. The term

“Related Claims” means “all Claims based upon, arising out of, directly or indirectly resulting

from, in consequence of, in any way involving, or in any way having a common nexus of the

same or related facts, circumstances, situations, transactions, or events, or the same or related

series of facts, circumstances, situations, transactions or events.”



The Prior Knowledge Exclusion (D)(1)

         Under this exclusion, there is no coverage under the 2017-18 Policy for a claim arising

from an act, error, omission, or wrongful act if, prior to the inception date of the first policy

providing such uninterrupted coverage, “the Risk Management Department or Legal Department

or any Executive of the Named Insured knew or reasonably could have foreseen that such act,

error, omission or Wrongful Act might result in a Claim.” Each Defendant is a Named Insured.

Because each Defendant is a Named Insured, there is no coverage for each ICC Claim noticed to

Homeland to the extent any one of Defendants knew of the potential for that claim before June

30, 2016—the inception date of the first policy providing coverage for suits outside the United

States. At a minimum, this exclusion would apply to the ICC Claims that were also tendered to

Vero in March 2016.



The Prior Notice Exclusion (D)(2)

         Under this exclusion, there is no coverage for a claim under the 2017-18 Policy for acts,


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errors, omissions or “Wrongful Acts” that were “the subject of any notice given under . . . any

medical professional or similar policy of insurance” that was “in effect prior to the Inception

Date set forth in ITEM 2 [June 30, 2017] of the Declarations.” Here, the Vero policy constituted

such medical professional insurance, and any ICC Claim that was the subject of notice given to

Vero in March 2016—long before the inception of the 2017-18 policy—would be precluded by

this exclusion. To the extent any of the Defendants provided notice of any of the ICC Claims to

any other medical professional insurance in effect prior to June 30, 2017, those claims would

also be excluded by this provision.



The Territory Condition (E)

         To the extent the 2017-18 Policy is reformed to delete the Worldwide Territory

Endorsement, the Territory Condition (E) would preclude coverage for all of the ICC Claims

noticed to Homeland to the extent the Claim or suit is brought outside of the United States,

Puerto Rico or Canada. That condition provides: “This Policy applies to Wrongful Acts or

Occurrences taking place anywhere in the world. Claim or suit must be made against an

Insured, however, in the United States of America, including its territories or possessions,

Puerto Rico, or Canada.”



The Examination of Books and Records Condition (X)

         This provision conditions coverage on compliance with the following provision: “The

Underwriter may examine and audit the books and records of the Insured as they relate to this

Policy.” To date, CPL has refused to permit Homeland to examine CPL’s books and records. In

particular, CPL has continuously refused to allow Homeland to examine CPL’s board meeting

minutes in any capacity. Those board meeting minutes are the subject of Homeland’s currently

pending discovery.




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Persons

         Homeland identifies the persons listed in response to interrogatory 2 above as persons

with actual or potential knowledge of the facts that support its contentions above.



Documents

         Homeland identified the Policies and also refers CPL to the non-privileged portions of

Homeland’s claim notes and claim file for the ICC Claims and the non-privileged portions of

Homeland’s underwriting files for the Policies. In particular, Homeland refers CPL to

correspondence from Mark T. Beaman over the course of Homeland’s coverage investigation,

including but not limited to correspondence from Mark T. Beaman to John T. Brooks dated

December 14, 2018 and enclosed documents, including MedLab’s March 2016 bulk claim report

to Vero, and correspondence from Mark T. Beaman to John T. Brooks dated September 18, 2019

and enclosed documents. Homeland also refers to the communications among Jennifer Clifford

of Homeland and Jake Onken and Abby Bell of broker Aon between June and July 2016 leading

up to the procurement of the Warranty Letter.

         Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 12:

         State the exact date on which You allege that you first learned of the CAR Program,

Identify the specific Document(s) and/or Communication(s) that You allege caused You to first

learn of the CAR Program, and Identify the specific individual(s) who You allege first learned of

the CAR Program.

RESPONSE TO INTERROGATORY NO. 12:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information protected from disclosure by the attorney-client privilege and/or the attorney

work product doctrine. This interrogatory also seeks information that is not relevant to any

party’s claims or defenses because it is not Homeland’s knowledge “of the CAR Program”


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generally that matters, but rather the details of the CAR Program, the results of the audits of the

CAR Program, which Defendants knew about the CAR Program and when, when the CAR

Program and its results would be revealed to potential claimants, which Defendants learned that

information and when, etc. Moreover, Homeland objects on the grounds that an intelligible and

straightforward response regarding an “exact date” is not possible on account of the piecemeal,

conflicting, inaccurate, misleading and/or incomplete information Homeland received from

Defendants on the relevant aspects of the CAR Program over the course of Homeland’s coverage

investigation. To date, Homeland has still not obtained all of the relevant information

concerning the CAR Program which is the subject of outstanding discovery propounded on

Defendants. Homeland further objects that the interrogatory calls for an examination, audit,

compilation, abstract or summary of documents, and the burden of deriving or ascertaining the

answer to this interrogatory is substantially the same for the propounding party. See Fed. R. Civ.

P. 33(d) and the non-privileged portions of Homeland’s claim notes and claim file for the ICC

Claims. Finally, Homeland objects on the grounds this interrogatory is improperly compound

and contains subparts, containing at least three separate interrogatories, making the total number

of interrogatories asked in excess of the limitations contained in Federal Rule of Civil Procedure

33(a)(1).

          Subject to and without waiving the foregoing objections, Homeland responds as follows:

There is no “exact date on which [Homeland] allege[s] that [it] first learned of the CAR

Program” because Homeland has still not obtained all of the information concerning the CAR

Program that is relevant to its coverage investigation and thus the claims and defenses in this

action.

          Homeland also refers CPL to the non-privileged portions of Homeland’s claim notes and

claim file for the ICC Claims.

          Discovery is ongoing and Homeland reserves the right to supplement this response.




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INTERROGATORY NO. 13:

         If You set reserves regarding any of the ICC Claims, including but not limited to the Ms.

S Claim, state the date when You first set such reserves, the amount of such reserves, and each

Person with knowledge regarding Your decision to set such reserves. If You ever increased or

decreased such reserves, state all dates when You increased or decreased such reserves, the

amount of such increases or decreases, and Identify each Person with knowledge about all such

increases or decreases to Your reserves.

RESPONSE TO INTERROGATORY NO. 13:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information that is not relevant to any party’s claims or defenses, nor proportional to the

needs of the case. Homeland further objects to the extent this interrogatory seeks information

protected from disclosure by the attorney-client privilege and/or the attorney work product

doctrine. Homeland also objects to the extent this interrogatory seeks documents containing

highly confidential, trade secret and/or proprietary information. Finally, Homeland objects on

the grounds this interrogatory is improperly compound and contains subparts, containing at least

six separate interrogatories, making the total number of interrogatories asked in excess of the

limitations contained in Federal Rule of Civil Procedure 33(a)(1).



INTERROGATORY NO. 14:

         Identify any specific provisions of the Policies—by quoting the exact text—that You

contend constitute mistakes, Identify any Documents and/or Communications that You contend

support Your allegation(s) that the Policies contain such mistakes, and Describe the exact

language—by quoting it—that You contend the parties agreed to in place of those alleged

mistakes. Also, Identify the specific individual Person(s) who You allege first discovered the

alleged mistake.




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RESPONSE TO INTERROGATORY NO. 14:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

overbroad and unduly burdensome to the extent it seeks information that is not within

Homeland’s possession, custody or control such as when individuals external to Homeland first

knew of or discovered any of the mistakes. The interrogatory is also overbroad and unduly

burdensome with respect to the term “Describe” which seeks not only facts but persons,

documents, meetings, communications and things related to the matter. Homeland also objects

that the interrogatory seeks information that is protected from disclosure by the attorney-client

privilege and/or the attorney work product doctrine. Moreover, Homeland objects on the

grounds that a full and complete response is not possible on account of the piecemeal,

conflicting, inaccurate, misleading and/or incomplete information Homeland received from

Defendants over the course of Homeland’s coverage investigation. To date, Homeland has still

not obtained all of the relevant information necessary to complete its coverage investigation;

such information and documents are the subject of outstanding discovery propounded on

Defendants. Homeland further objects that the interrogatory calls for an examination, audit,

compilation, abstract or summary of documents, and the burden of deriving or ascertaining the

answer to this interrogatory is substantially the same for the propounding party. See Fed. R. Civ.

P. 33(d); the non-privileged portions of Homeland’s claim notes and claim file for the ICC

Claims and Homeland’s Initial Disclosures. Finally, Homeland objects on the grounds this

interrogatory is improperly compound and contains subparts, containing at least nine separate

interrogatories, making the total number of interrogatories asked in excess of the limitations

contained in Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

The Worldwide Territory Endorsement

         Condition (E) Territory:

         This Policy applies to Wrongful Acts or Occurrences taking place anywhere in the
         world. Claim or suit must be made against an Insured, however, in the United
         States of America, including its territories or possessions, Puerto Rico, or Canada.


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         (1)      Subject to paragraph (2) below and solely for the purposes of the coverage
                  afforded under INSURING AGREEMENT (A) of this Policy, Section IV
                  GENERAL CONDITIONS (E) of this Policy is amended to add the
                  following at the end thereof:

                  (1)    Subject to the further provisions of this GENERAL CONDITION
                         (E), if a Claim is made against an Insured outside the United States
                         of America, including its territories or possessions, Puerto Rico or
                         Canada, the Underwriter will have the right but not the duty to
                         defend, investigate or settle such Claim. If the Underwriter elects not
                         to defend, investigate or settle such Claim, the Insured shall be
                         obligated to initiate such defense and investigation as is reasonably
                         necessary and, subject to the Underwriter’s prior written consent,
                         may effect settlement. The Underwriter will reimburse the Insured,
                         up to the applicable Limit of Liability, for reasonable Defense
                         Expenses and Loss, subject to the deductible or self-insured
                         retention set forth in ITEM 4.A. of the Declarations and all other
                         provisions of this Policy.

                  (2)    All monetary terms in this Policy are in U.S. dollars. In the event the
                         Insured incurs Loss or Defense Expenses in currency other than
                         U.S. dollars, the Underwriter will reimburse the Insured for such
                         amounts in U.S. dollars at the prevailing exchange rate at the time
                         such Loss or Defense Expenses were incurred.

                  (3)    No coverage will be available under this Policy for Loss or Defense
                         Expenses for any Claim made against an Insured in any country or
                         jurisdiction which is the subject of trade or economic sanctions or
                         embargo imposed by the laws or regulations of the United States of
                         America to the extent such sanctions or embargo prohibit or limit this
                         insurance.

         (2)      It is understood and agreed that the amendment to Section IV GENERAL
                  CONDITION (E) set forth in paragraph (1) above does not apply to Claims
                  made against any Named Insured that is domiciled outside the United States
                  of America, including its territories or possessions, Puerto Rico or Canada.
                  Accordingly, no coverage will be available under this Policy for Loss or
                  Defense Expenses for any Claim made outside the United States of
                  America, including its territories or possessions, Puerto Rico or Canada
                  against any Named Insured that is domiciled outside the United States of
                  America, including its territories or possessions, Puerto Rico or Canada.

         All other terms, conditions and limitations of this Policy shall remain unchanged.




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          Primary Policy, § IV, Condition (E) Territory as amended by Endorsement No. 13

Worldwide Territory Endorsement.

          This Condition should be reformed to:

          Condition (E) Territory:

          This Policy applies to Wrongful Acts or Occurrences taking place anywhere in
          the world. Claim or suit must be made against an Insured, however, in the United
          States of America, including its territories or possessions, Puerto Rico, or Canada.


The Additional Named Insured Endorsement

          (1)     The term “Named Insured,” 1 as defined in Section II DEFINITIONS of
                  this Policy, is amended to include the entity(ies) scheduled below (each an
                  “Additional Named Insured”), but solely:

                  (a)    with respect to liability imposed or sought to be imposed on such
                         Additional Named Insured that is based on or arises out of acts,
                         errors or omissions committed or allegedly committed by such
                         Additional Named Insured when and to the extent that, such
                         Additional Named Insured is acting on behalf of, and within the
                         capacity and scope of its duties for

                         Sonic Healthcare Investments, G.P.

                         ; and

                  (b)    for Wrongful Acts happening on or after the Retroactive Date
                         identified for each Additional Named Insured in the schedule below
                         and Occurrences happening on or after the effective date of this
                         endorsement [June 30, 2017]:

          SCHEDULE
          Additional Named Insured:                                    Retroactive Date:
          Sonic Healthcare USA, Inc                                    February 05, 2007
          …
          Clinical Pathology Laboratories, Inc                         October 01, 2000
          …
          Sonic Healthcare Limited                                     February 05, 2007


1
    Bolded terms are terms that are defined in the policies.

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         …
         Sonic Healthcare (Ireland) Limited (term                       August 01, 2010
         date 06.30.2013)

         Medlab Pathology (term date 06.30.2013)                        August 01, 2010

         (2)      It is understood and agreed that the Additional Named Insured(s) share in
                  the applicable Limits of Liability set forth in ITEM 4 of the Declarations.

         (3)      ITEM 3 of the Declarations shall be deemed amended to the extent
                  necessary to effect the purpose and intent of this endorsement.

         All other terms, conditions and limitations of the Policy shall remain unchanged.

         Primary Policy, § II, Definition (CC) Named Insured as amended by Endorsement No. 24,

Additional Named Insured.

         This Endorsement should be reformed to exclude Sonic Healthcare (Ireland) Limited and

MedLab Pathology.



The Warranty Letter

         The undersigned [Stephen R. Shumpert], on behalf of Sonic and any person
         proposed for coverage (the insureds) does hereby represent to OneBeacon
         Insurance and its writing company [Homeland] that:

         The insureds, after diligent inquiry, are not aware of any claims against the
         insured(s) or any fact, circumstance, situation, transaction, event, act, error, or
         omission that may give rise to a claim against the insured(s) Sonic Healthcare
         (Ireland) Limited, Medlab Pathology, and CPL of Austin as respect the cervical
         cytology laboratory screening services conducted between 8/1/2010 to 6/30/2013
         and all claims and facts, circumstances, situations, transactions, events, acts, errors,
         or omissions against the insured(s) that may result in a claim have been reported to
         prior insurance carrier(s).

         OneBeacon Insurance and its writing company will be issuing its policy in reliance
         upon the conditions and statements made in this letter and the application both of
         which will be deemed to be a part of the policy.

         The Warranty Letter, having been deemed part of the Policies, is based on unilateral or

mutual mistakes of fact that should be reformed according to the true facts which are still being

investigated by Homeland. Thus far, it is unclear to Homeland whether anything in the first two


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paragraphs are in fact true. If that is the case, the entire Warranty Letter should be stricken from

the Policies and the Policies reformed to delete the changes made in reliance on the Warranty

Letter.



Discovery of the Mistake

          See response to interrogatory number 4 which details the process by which Homeland

became aware of the mistakes.



Documents

          Homeland also refers CPL to the non-privileged portions of Homeland’s claim notes and

claim file for the ICC Claims and the non-privileged portions of Homeland’s underwriting files

for the Policies. In particular, Homeland refers CPL to correspondence from Mark T. Beaman

over the course of Homeland’s coverage investigation, including but not limited to

correspondence from Mark T. Beaman to John T. Brooks dated December 14, 2018 and enclosed

documents, including MedLab’s March 2016 bulk claim report to Vero, and correspondence

from Mark T. Beaman to John T. Brooks dated September 18, 2019 and enclosed documents.

Homeland also refers to the communications among Jennifer Clifford of Homeland and Jake

Onken and Abby Bell of broker Aon between June and July 2016 leading up to the procurement

of the Warranty Letter.

          Discovery is ongoing and Homeland reserves the right to supplement this response.



INTERROGATORY NO. 15:

          Describe the corporate relationship between and amongst OneBeacon and Homeland and

Describe why employees of OneBeacon, but not Homeland, were those who primarily

communicated with CPL (and other insureds under the Policies) regarding the procurement of

the Policies and the adjustment of the ICC Claims (including the Ms. S Claim).




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RESPONSE TO INTERROGATORY NO. 15:

         In addition to its General Objections, Homeland objects to this interrogatory because it is

vague and ambiguous with respect to the terms “OneBeacon” and “Homeland” which Defendant

defines as various entities, their affiliates, owners, employees, agents, etc. of those entities. The

interrogatory is also overbroad with respect to the term “Describe” which seeks not only facts

but persons, documents, meetings, communications and things related to the matter. As such, the

interrogatory is also overbroad and unduly burdensome. Homeland also objects on the grounds

that the interrogatory seeks information that is not relevant to any party’s claims or defenses, nor

proportional to the needs of the case. Homeland objects that this interrogatory seeks the

disclosure of highly confidential, trade secret and/or proprietary information and materials such

as the basis for Homeland and its affiliates’ corporate structure and organization, which has no

relevance to this lawsuit. Homeland further objects to the extent the information sought is

publicly available and therefore equally available to Defendant. Moreover, Homeland objects on

the grounds this interrogatory is improperly compound and contains subparts, containing at least

twelve separate interrogatories, making the total number of interrogatories asked in excess of the

limitations contained in Federal Rule of Civil Procedure 33(a)(1).

         Subject to and without waiving the foregoing objections, Homeland responds as follows:

OneBeacon Healthcare Group is not a separate or distinct legal entity. OneBeacon Insurance

Group, Ltd. is a holding company. OneBeacon Insurance Group LLC is an indirect subsidiary of

OneBeacon Insurance Group, Ltd. Atlantic Specialty Insurance Company is a subsidiary of

OneBeacon Services, LLC and Homeland Insurance Company of New York is a subsidiary of

Atlantic Specialty Insurance Company. OneBeacon Services, LLC employs OneBeacon’s

underwriters and Atlantic Specialty Insurance Company employs OneBeacon’s claims handlers.



INTERROGATORY NO. 16:

         Identify all Persons who assisted You in responding to any of these Interrogatories,

indicating for each Person the Interrogatory number(s) with which they assisted in answering,


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regardless of whether the information they provided was included in the final response.

RESPONSE TO INTERROGATORY NO. 16:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information that is not relevant to any party’s claims or defenses, nor proportional to the

needs of the case. Discovery into another party’s discovery process, or “meta-discovery,” is

disfavored and inappropriate especially where, as here, it is not relevant to any claim or defense

in the case and Defendant has not shown any specific deficiency in Homeland’s interrogatory

responses which it is serving contemporaneously. As such, this interrogatory is also unduly

burdensome. Homeland further objects to the extent this interrogatory seeks information

protected from disclosure by the attorney-client privilege and/or the attorney work product

doctrine. Finally, Homeland objects on the grounds this interrogatory is improperly compound

and contains subparts, containing at least two separate interrogatories, making the total number

of interrogatories asked in excess of the limitations contained in Federal Rule of Civil Procedure

33(a)(1).



INTERROGATORY NO. 17:

         Identify all Persons who participated in searching for Documents in response to CPL’s

First Set of Requests for Production of Documents. For each Person identified, Describe the

nature of that Person’s participation.

RESPONSE TO INTERROGATORY NO. 17:

         In addition to its General Objections, Homeland objects to this interrogatory because it

seeks information that is not relevant to any party’s claims or defenses, nor proportional to the

needs of the case. Discovery into another party’s discovery process, or “meta-discovery,” is

disfavored and inappropriate especially where, as here, it is not relevant to any claim or defense

in the case and Defendant has not shown any specific deficiency in Homeland’s document

production which has not yet occurred. As such, this interrogatory is also unduly burdensome.

Homeland further objects to the extent this interrogatory seeks information protected from


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disclosure by the attorney-client privilege and/or the attorney work product doctrine. Finally,

Homeland objects on the grounds this interrogatory is improperly compound and contains

subparts, containing at least two separate interrogatories, making the total number of

interrogatories asked in excess of the limitations contained in Federal Rule of Civil Procedure

33(a)(1).



 DATED: March 12, 2021                    By:    s/ John T. Brooks
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                                                                                                       Ex. A-9


                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF
NEW YORK,                                             CIVIL ACTION NO. 1:20-cv-783
                  Plaintiff,

v.

CLINICAL PATHOLOGY
LABORATORIES, INC. SONIC
HEALTHCARE USA, INC., MEDLAB
PATHOLOGY, SONIC HEALTHCARE
(IRELAND) LIMITED, AND SONIC
HEALTHCARE LIMITED.

                  Defendants.



                                       PROOF OF SERVICE


         I, the undersigned, declare under penalty of perjury that I am, and was at the time of service
of the papers herein referred to, over the age of eighteen years and not a party to the action; and I am

employed in the County of San Diego, State of California, in which county the within-mentioned

service occurred. My business address is 501 West Broadway, 19th Floor, San Diego, California

92101.

         On March 12, 2021, I served a copy of the following document(s):

PLAINTIFF HOMELAND INSURANCE COMPANY OF NEW YORK’S RESPONSE TO
  DEFENDANT CLINICAL PATHOLOGY LABORATORIES, INC.’S FIRST SET OF
                        INTERROGATORIES

        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the document(s)
         to be sent from nlautzenheiser@sheppardmullin.com to the persons at the e-mail addresses
         listed in the Service List. The document(s) were transmitted and I did not receive, within a
         reasonable time after the transmission, any electronic message or other indication that the
         transmission was unsuccessful.




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                                                                                                  Ex. A-9



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         I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

         Executed on March 12, 2021, at San Diego, California.




                                                                  Nicole Lautzenheiser




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